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                                 UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                        LAREDO DIVISION


ADRIAN TELLO and MARY ANN                                        §
VASQUEZ TELLO,                                                   §
                                                                 §
         Plaintiffs,                                             §
                                                                 §   CIVIL ACTION NO. 5:15-CV-00057
v.                                                               §
                                                                 §
ASI LLOYDS and JACK FIELDER,                                     §
                                                                 §
         Defendants.                                             §


                       DEFENDANT ASI LLOYDS’ NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. § 1441, Defendant ASI LLOYDS (“ASI”), hereby removes the

action styled and numbered, Adrian Tello and Mary Ann Vasquez Tello v. ASI Lloyds and Jack

Fielder, 2015CVF000510-D4, currently pending in the 406th Judicial District Court of Webb

County, Texas to the United States District Court for the Southern District of Texas, Laredo

Division. For the reasons set forth below, removal of the state court action is proper under 28

U.S.C. §§ 1332, 1441, and 1446.

                                               I. INTRODUCTION
         1.        On February 11, 2015, Adrian and Mary Ann Tello (“Plaintiffs”) filed their

Original Petition in Cause No. 2015CVF000510-DF against ASI Lloyds and Jack Fielder

(“Fielder”). Plaintiff served ASI with suit on February 26, 2015. Plaintiff’s Original Petition

alleges causes of action against ASI breach of contract, violations of the Texas Deceptive Trade

Practices Act, and violations of Section 542 of the Texas Insurance Code. 1 Plaintiff’s Original

Petition also alleges causes of action collectively against ASI and Fielder for Violations of

1
     See Plaintiff’s Original Petition, attached as Exhibit B.


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Section 541 of the Texas Insurance Code, Breach of the Duty of Good Faith and Fair Dealing,

and Fraud.

        2.       ASI need not obtain Jack Fielder’s consent to removal as ASI contends Fielder

was improperly joined. 2

        3.       Defendant, therefore, timely files this Notice of Removal within the 30-day time

period required by 28 U.S.C. § 1446(b).

        4.       Venue is proper in the United States District Court for the Southern District of

Texas, Laredo Division, under 28 U.S.C. §§ 124(a)(5) and 1441(a) because this district and

division embrace the place in which the removed action has been pending.

                                              PARTIES
        5.       Plaintiffs Adrian Tello and Mary Ann Tello are Texas residents who reside in

Webb County, Texas.

        6.       ASI was at the time this lawsuit was filed, and at the date of this Notice remains,

an association of underwriters. The individual underwriters are as follows: Tanya J. Fjare,

Trevor C. Hillier, Kevin R. Milkey, Gregory E. Stewart, John F. Auer, Jr., Robert K. Munns, Jr.,

Edwin L. Cortez, Mary F. Bacon, Antonio Scognamiglio, and Philip L. Brubaker. Each of these

underwriters is a citizen of the State of Florida. The United States Supreme Court has held that

an unincorporated association’s citizenship is determined by the citizenship of each of its

partners. 3 Therefore, ASI is not a citizen of the State of Texas.




2
    Rico v. Flores, 481 F.3d 234, 239 (5th Cir. 2007).
3
    Deep Marine Technology, Inc. v. Conmaco/Rector, L.P., 515 F.Supp.2d 760, 766 (S.D. Tex. June 26, 2007);
    Smith v. Allstate Texas Lloyds, No. 4:12cv486, 2012 WL 7827609, at *2 (E.D. Tex. Dec. 21, 2012) (recognizing
    that this has been a consistent view of the United States Supreme Court for over 100 years); Carden v. Arkoma
    Assocs., 494 U.S. 185, 195-96 (1990).


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        7.       Defendant Jack Fielder is a Texas Resident, contracted to adjust Plaintiff’s claims

against ASI. Fielder is improperly joined in this suit for the sole purpose of attempting to defeat

diversity jurisdiction, more specifically explained below.

        8.       Accordingly, there is now, and was at the time this action was filed, complete

diversity between Plaintiffs Tello, and proper Defendant ASI.

                            II. BASIS FOR REMOVAL JURISDICTION
        9.       Removal of this action is proper under 28 U.S.C. § 1441 because it is a civil

action brought in a state court and the federal courts have original jurisdiction over the subject

matter pursuant to 28 U.S.C. § 1332. Specifically, removal is proper because there is now, and

was at the time this action was filed, complete diversity of citizenship between Plaintiffs and the

only properly joined Defendant.

        10.      No properly joined defendant is a citizen of the State of Texas for purposes of

diversity jurisdiction, and the amount in controversy exceeds $75,000 excluding interest, costs

and attorneys’ fees. The citizenship of Jack Fielder – an improperly joined defendant – should be

disregarded for purposes of determining whether diversity jurisdiction exists. 4

                                  III. AMOUNT IN CONTROVERSY
        11.      The amount alleged to be in controversy greatly exceeds $75,000. Plaintiff’s

Original Petition alleges that “Plaintiffs believe their damages exceed $200,000.00.” 5

        12.      Therefore, it is apparent that Plaintiff’s claim exceeds the amount required to

support federal jurisdiction.




4
    See Heritage Bank v. Redcom Labs, Inc., 250 F.3d 319, 323 (5th Cir. 2001); Badon v. RJR Nabisco Inc., 224
    F.3d 382, 389-90 (5th Cir. 2000).
5
    See Plaintiff’s Original Petition, attached as Exhibit B, page 13, paragraph 59.


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            IV. JACK FIELDER WAS IMPROPERLY JOINED AS A DEFENDANT
           13.    Removal jurisdiction is determined on the basis of the claims in the state court

pleading as it exists at the time of removal. 6 To establish that a non-diverse defendant has been

improperly joined for the purpose of defeating diversity jurisdiction, the removing party must

show either (1) that there is no reasonable possibility that the plaintiff will be able to establish a

cause of action against the non-diverse defendant under state law, or (2) actual fraud in the

pleading of jurisdictional facts. 7 Here, the first clearly applies. The standard for such an inquiry

is whether the defendant has demonstrated that “there is no reasonable basis . . . to predict that

the plaintiff might be able to recover against an in-state defendant. 8 The mere hypothetical

possibility that an action against the non-diverse defendant could exist is not enough to preclude

a finding of improper joinder. 9

           14.    Under this standard, there is no reasonable basis for predicting that Plaintiffs

might establish liability against Fielder. Indeed, Plaintiff has collectively pled three of its six

counts against both Defendants ASI and Fielder without any distinction of the acts and/or failure

thereof between the two parties. As such, the claims Plaintiffs allege against Fielder are baseless

in both law and fact. 10

           15.    More specifically, Plaintiffs serially allege in conclusory language, violations of

numerous sections of the Texas Insurance Code, the duty of good faith and fair dealing, and

6
     See Castellanos v. Bridgestone Corp., 215 F.Supp.2d 862, 864 (S.D. Tex. July 22, 2012); Cavallini v. State
     Farm Mutual, 44 F.3d 256, 262 (5th Cir. 1995).
7
     Melder v. Allstate Corp., 404 F.3d 328, 330 (5th Cir. 2005); Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568, 573
     (5th Cir. 2004).
8
     Neubauer v. Logan’s Roadhouse of Texas, Inc., Civil Action No. L-09-81, 2009 WL 4263471, at *3 (S.D. Tex.
     Nov. 24, 2009) (citing Smallwood, 385 F.3d at 573).
9
     See Griggs v. State Farm Lloyds, 181 F.3d 694, 701 (5th Cir. 1999).
10
     Id.


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fraudulent misconduct, but do not allege which of the broadly alleged misconduct is attributable

specifically to Fielder. These allegations are not sufficient to establish a reasonable basis for

predicting that Texas law might impose liability on Fielder. 11

         16.     Accordingly, Fielder is improperly joined in the instant action, in an attempt to

defeat diversity jurisdiction and his citizenship should be ignored for removal purposes.

                           V. COMPLIANCE WITH LOCAL RULE 81
         17.     In accordance with 28 U.S.C. § 1446(a) and Rule 81 of the Local Rules of the

Southern District of Texas, ASI files this Notice of Removal, accompanied by the following

exhibits:

                 a.      All executed process in the case, attached hereto as Exhibit A
                 b.      Plaintiffs’ Original Petition, attached hereto as Exhibit B
                 c.      Defendant ASI’s Original Answer, attached hereto as Exhibit C
                 d.      The state court docket sheet, attached hereto as Exhibit D
                 e.      An index of matters being filed, attached hereto as Exhibit E
                 f.      A list of all counsel of record, including addresses, telephone numbers,
                         and parties represented, attached hereto as Exhibit F

                                          VI. JURY DEMAND
         18.     Plaintiff demanded a jury in the state court action.

                                          VII. CONCLUSION
         19.     ASI will promptly file a copy of this Notice of Removal with the clerk of the state

court where the action is pending.

         20.     Therefore, ASI hereby provides notice that this action is duly removed.




11
     Marquez v. Allstate Texas Lloyds, 2014 WL 710952 (S.D. Tex. 2014)


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                                          Respectfully submitted,

                                          ZELLE HOFMANN VOELBEL & MASON LLP



                                          By:      /s/ Todd M. Tippett
                                                Todd M. Tippett
                                                Attorney-In-Charge
                                                Texas Bar No. 24046977
                                                Southern District Bar No. 573544
                                                TTippett@zelle.com

                                                Andrew A. Howell
                                                Texas Bar No. 24072818
                                                Southern District Bar No. 1751294
                                                AHowell@zelle.com
                                                John W. Maniscalco
                                                Texas Bar No. 24078913
                                                Southern District Bar No. 1356284
                                                JManiscalco@zelle.com

                                          901 Main Street, Suite 4000
                                          Dallas, Texas 75202-3975
                                          Telephone:     214-742-3000
                                          Facsimile:     214-760-8994

                                          ATTORNEYS FOR DEFENDANTS
                                          ASI LLOYDS AND JACK FIELDER




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                              CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of this Original Answer and Affirmative
Defenses has been served this 19th day of March, 2015, by electronic filing as follows:

   Danny Ray Scott
   Texas Bar No. 24010920
   danny@scottlawyers.com
   Virginia Izaguirre
   Texas Bar No. 24083230
   virginia@scottlawyers.com
   Sean M. Patterson
   Texas Bar No. 24073546
   sean@scottlawyers.com
   SCOTT LAW OFFICES
   350 Pine Street, Suite 300
   Beaumont, TX 77701
   Telephone:     409-833-5400
   Facsimile:     409-833-5405
   Attorneys for Plaintiffs Adrian Tello and
   Mary Ann Vasquez Tello


                                                  /s/ Todd M. Tippett
                                                  Todd M. Tippett




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